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                     UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                           CRIMINAL NO. 24-30456
              Plaintiff,
                                           HON. ANTHONY P. PATTI
v.

JAMES HOLLOWAY,

              Defendant.
                                      /



ORDER COMMITTING DEFENDANT JAMES HOLLOWAY TO UNITED
 STATES BUREAU OF PRISONS FOR MENTAL EXAMINATION AND
                        REPORT

        As stated on the record at the detention hearing which commenced on October

28, 2024, the Court has reasonable cause to believe that the defendant may presently

be suffering from a mental disease or defect rendering him mentally incompetent to

the extent that he is unable to understand the nature and circumstances of the

proceedings against him or to represent himself or assist counsel in his defense.

Accordingly, pursuant to 18 U.S.C. 4241(a):

        IT IS ORDERED that the defendant, James Holloway, be committed to an

appropriate facility designated by the United States Bureau of Prisons for a period

not to exceed thirty (30) days from the date of his arrival, pursuant to 18 U.S.C. §
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4241(b), in order to determine whether the defendant currently is suffering from a

mental disease or defect rendering him mentally incompetent to stand trial pursuant

to 18 U.S.C. § 4241, and if competent, his competency to represent himself and his

competence to assist his counsel in his defense.

      A report shall be prepared pursuant to 18 U.S.C. § 4247(c) and shall be sent

to the Honorable Anthony P. Patti, Theodore Levin U.S. Courthouse, 231 W.

Lafayette Blvd, Detroit, MI 48226. The Court will then provide copies to defendant

as well as counsel for the defendant and counsel for the government, pursuant to this

provision. Further, as part of this Order, the United States Marshal and the Bureau

of Prisons are directed to conduct the transportation and the evaluation of the

defendant in an appropriate and expeditious manner.

      Pursuant to the Speedy Trial Act provisions of 18 U.S.C. § 3161(h)(1)(A), the

time required for trial of the defendant shall be tolled from the date of this order until

the results of said psychological examination are received by the Court, such period

being delay contemplated by 18 U.S.C. § 3161(h)(1)(A).

      IT IS FURTHER ORDERED that the Clerk deliver a certified copy of this

Commitment Order to the United States Marshal and the local representative of the

Bureau of Prisons.
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      IT IS FURTHER ORDERED that the detention hearing begun on October 28,

2024 shall be continued until such time as either competency has been found, or if

not found, restored.



Dated: October 28, 2024October 29, 2024          ___________________
                                    ANTHONY P. PATTI
                                    UNITED STATES MAGISTRATE JUDGE
